    Case 3:25-cv-02847-AMO   Document 37-3   Filed 04/04/25   Page 1 of 3




                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF CALIFORNIA
                         SAN FRANCISCO DIVISION

                                      Case No. 3:25-cv-2847
COMMUNITY LEGAL SERVICES IN EAST      SUPPLEMENTAL DECLARATION OF
PALO ALTO, et al.,                    MARTHA RUCH (CLSEPA) IN
              Plaintiffs,             SUPPORT OF PLAINTIFFS’ MOTION
                                      FOR A PRELIMINARY INJUNCTION
     v.

UNITED STATES DEPARTMENT OF
HEALTH AND HUMAN SERVICES, et al.,

             Defendants.
      Case 3:25-cv-02847-AMO           Document 37-3        Filed 04/04/25     Page 2 of 3




               SUPPLEMENTAL DECLARATION OF MARTHA RUCH
             LEAD IMMIGRATION MANAGING ATTOREY FOR CLSEPA

I, Martha Ruch, make the following statements on behalf of myself and Community Legal Services
in East Palo Alto (CLSEPA). I certify under penalty of perjury that the following statement is true
and correct pursuant to 28 U.S.C. § 1746.
   1. I incorporate my Declaration in Support of Plaintiffs’ Motion for a Temporary Restraining
      Order and Preliminary Injunction (Dkt. 7-16) as if fully set forth herein.
   2. My name is Martha Ruch, and I am the Lead Managing Attorney of the Immigration
      Program at Community Legal Services in East Palo Alto (“CLSEPA”). I have been an
      immigration attorney with CLSEPA for five and a half years, since September 2019.
      CLSEPA is a non-profit legal aid organization that serves residents of San Mateo County
      and Santa Clara County, California. CLSEPA has offices in the city of East Palo Alto, San
      Francisco, and Mountain View. CLSEPA is one of the primary organizations dedicated to
      providing free immigration legal services to low-income immigrants in San Mateo County
      and Santa Clara County, California, including indigent unaccompanied immigrant children
      who are residing with sponsors in the San Francisco Bay Area after their release from
      Office of Refugee Resettlement (“ORR”) custody.
   3. CLSEPA represents 23 children in their immigration matters whose cases were funded by
      U.S. Department of Health and Human Services (“HHS”). One client’s case is still in
      administratively closed deportation proceedings in immigration court. Since the
      termination of funding on March 21, 2025, CLSEPA attorneys have received one pending
      referral from Catholic Charities Santa Clara County for a new potential client. Due to the
      loss of funding from HHS that supports our legal representation of unaccompanied
      immigrant children, CLSEPA has been unable to accept new referrals.
   4. The financial impact of the loss of this funding is difficult for our organization. HHS
      provided long-term funding that potentially could cover the full cost of the case. HHS
      provided sustainable funding that would allow for long-term representation that is required
      for these children, whose cases may remain in process for months or years into the future
      based on current processing times and policy. Without this funding, we must reconsider
      whether we have enough funding to cover the costs of representation in the future.
   5. CLSEPA provides legal services in the areas of housing, workers’ rights, and reentry, in
      addition to immigration. We assist all residents of San Mateo and Santa Clara Counties, no
      matter their race, ethnicity, age, national origin, veteran status, or language. HHS funding
      is one piece of our budget puzzle, but it is a critical piece that supports our work with our
      most vulnerable clients – children who are in foster care or ORR facilities and who face



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      Case 3:25-cv-02847-AMO            Document 37-3        Filed 04/04/25   Page 3 of 3




       deportation. This work is time-consuming and requires high levels of competency with
       immigration law and with working with children. Our budget is always tight, and without
       this funding, we cannot backfill open positions on our immigration team. Each of
       CLSEPA’s attorneys are now responsible for more clients since HHS abruptly cut the
       funding for our direct legal representation work and left us unable to rehire.


I declare under penalty of perjury that the foregoing is true and correct.



Executed on the 3rd of April 2025, in San Francisco, California



______________________________
Martha Ruch
Lead Managing Attorney, Immigration Program
CLSEPA




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